        Case 1:20-cr-00094-SPW Document 43 Filed 01/11/21 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

UNITED STATES OF AMERICA,                           CR 20-94-BLG-SPW-1

                    Plaintiff,
                                                    ORDER
vs.

COURTNEY NICOLE LIENEMANN,

                    Defendant.

      Defendant requested a hearing on the alleged violations of the terms and

conditions of her pretrial release on January 7, 2021. The Court held a hearing on

the motion to revoke on January 11, 2021, during which Defendant admitted to the

alleged violations. Therefore, the Court finds by clear and convincing evidence

that Defendant violated the terms of her release.

      The United States then moved to detain Defendant pending trial. For

reasons set forth on the record, the Court finds there is no condition or combination

of conditions that will assure Defendant will not pose a danger to the safety of any

other person or the community. Further, the Court finds that Defendant is unlikely

to abide by any condition or combination of conditions of release. See 18 U.S.C. §

3148(b)(2).
        Case 1:20-cr-00094-SPW Document 43 Filed 01/11/21 Page 2 of 2



      Accordingly, IT IS ORDERED that the United States’ motion to revoke

Defendant’s pretrial release (Doc. 32) is GRANTED. Defendant is remanded to

the custody of the United States Marshals Service.

DATED this 11th day of January, 2021.

                                      _______________________________
                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
